_ Case 1:22-cr-09462-DHU Document58 Filed 11/09/22 eRe RD 7

Case 1:22-cr-00462 .HU Document 52 (Ex Parte) Filea
United States District Court
UNITED STATES DISTRICT COM Albuquerque, New Mexico

District of New Mexico
Mitchell R. Elfers

2022 ; Clerk of Court

UNITED STATES OF AMERICA WARRANT FOr anno iz Zh
Vv. Duplicate Original
Latrice M Thomas (Pursuant to Rule 41)

Case: 1084 1:22CR00462- 001DHU
To: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest Latrice M. Thomas and bring him or her forthwith to the nearest magistrate
judge to answer a petition for

Violation of Conditions of L) Probation Violation XC) Supervision Release Violation
Pretrial Release

charging him or her: On September 14, 2022, at approximately 17:48, USPO received two global positioning system
(GPS) alerts indicating a strap tamper and a proximity tamper alert. USPO called the defendant and she answered. The
defendant was asked about the GPS bracelet and the defendant reported there were no issues. The defendant was
instructed to take and send photos of the unit via text message to USPO. At the time of this request, the photos were never
received. USPO called the defendant four additional times (6:02 p.m., 6:03 p.m., 6:35 p.m., and 8:32 p.m.) and sent one
text message (6:42 p.m.). The phone appeared to go straight to voicemail and at the time of this request, the defendant has
not contacted USPO. The defendant’s whereabouts are currently unknown.

WARRANT issued for the defendant’s arrest to show cause why the supervision should not be revoked for violation for the
conditions of supervision as set by the Honorable David H. Urias in violation of an Order Setting Conditions of Release.

Sg oe i 538 we
I certify that the issuing judge has directed this officer to sign the judge’s name on the duplicate original warrant pyssuant

 

 

 

 

to Rule 41(e)(3)(D) of the Federal Rules of Criminal Procedure. a oer
aw wee
a
Honorable Laura Fashing September 14, 2022 8:36 p.m.
Name of Issuing Judge Date and Time:
Albuquerque /s/ Beatrice Manzanares
Location United States Probation/Pretrial Services Officer
RETURN

 

This warrant was received and executed with the arrest of the above-named defendant m Owk/and >A

 

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

SS Spbter Parr vin lim

"DATE OF ARREST

HW rhe P0P2- ly pls. fod

 

 

 

 

 

 
   

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